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                      UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF NEW YORK


FCS ADVISORS, LLC,

                               Plaintiff,

           —against—
                                            21 Civ. 6995
THEIA GROUP, INC., d/b/a “THORIAN
GROUP” and/or “CYPHERIAN”;
THEIA AVIATION, LLC; and
THEIA HOLDINGS A, INC., d/b/a “THORIAN
HOLDINGS,”
                             Defendants.

         PLAINTIFF FCS ADVISORS, LLC’S MEMORANDUM OF LAW
                    IN SUPPORT OF ITS MOTION FOR
              APPOINTMENT OF A TEMPORARY RECEIVER
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                                        INTRODUCTION

       By this application, Plaintiff FCS Advisors, LLC (“FCS”), seeks the immediate

appointment of a temporary receiver and expedited discovery in order to recover over $289

million of secured debt due from Defendants Theia Group, Inc., Theia Aviation LLC, and Theia

Holdings A, Inc. (collectively, “Theia”).

       FCS provided Theia with short-term financing to support Theia in developing, under a

license granted by the Federal Communications Commission (“FCC”) in May 2019, a series of

satellites to image the Earth’s surface. The license is conditioned on Theia launching 56 satellites

by May 2025. As security for the loans, Theia pledged as collateral substantially all its assets,

including the equity interests in the single-purpose entity holding the FCC license.

       Theia has been unable or unwilling to find an investor or new lenders to take out FCS’s

debt—despite requesting and being granted an additional six months to do so. The situation has

become dire. Theia has little to no revenues. Theia’s own efforts to obtain a liquidity event have

woefully failed to materialize, and, as explained below, the odds of such an event have dropped

precipitously. The only real prospect for repayment of FCS’s secured loan and Theia’s other

creditors is an orderly liquidation of Theia’s assets by a Court-appointed fiduciary.

       Notably, the agreements among the parties as well as the law supports the appointment of

a receiver under such circumstances.

       A receiver is especially appropriate because, even beyond Theia’s failure to repay its

debts, the company has breached numerous provisions of the loan agreements, making clear that

it cannot be trusted to right the ship. Those breached promises include:

           Failing to provide FCS with basic financial reporting documents;
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           Borrowing purportedly secured loans from a third party, in violation of prohibitions

            on indebtedness and liens;

           Refusing to provide a detailed “Liquidity Plan” and to appoint a “Selected Advisor”

            with expertise to help pursue liquidity options; and

           Refusing to appoint an independent Chief Restructuring Officer (“CRO”) with

            authority to effectuate the Liquidity Plan.

       These defaults are not just blatant breaches of Theia’s contractual obligations. They

indicate a pattern of incompetence (at best) or fraud (at worst) that jeopardizes the value of the

FCC license and FCS’s ability to be repaid.

       The situation has become so grim that Theia has been unable to meet its payroll

obligations for over a month. So far as we can tell, Theia has run out of money. Adding to FCS’s

concern is that Theia has, without alerting FCS, apparently incorporated at least three new

business entities—seemingly so that it could try to keep assets outside of FCS’s reach.

       Theia’s breaches and financial situation make clear that matters are heading in the wrong

direction, making it important to appoint a receiver as soon as possible. And there is additional

urgency, beyond the ordinary scenario of a foundering borrower, because the primary collateral,

the FCC license, is conditioned on the satellite network being launched by the FCC’s deadline of

May 2025. Theia has wasted more than two of the six years the FCC had allotted for the process,

and so transferring the license to a more capable entity must occur promptly, so that a new

licensee can meet the deadline and realize that value that Theia has been squandering.

       At bottom, there can be no doubt that FCS’s collateral is in peril, and there is ample

reason to believe that something even more sinister is afoot. It is exactly these circumstances that




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warrant a court-appointed receiver, in addition to expedited discovery. Creditors need and

deserve this protection, and applicable law provides it.

                                  FACTUAL BACKGROUND

The SNPSA

       Theia is a company formed in 2015 by Erlend Olson and Joseph Fargnoli. (Declaration of

Manuel Colon, dated August 18, 2021 (“Colon Decl.”) ¶ 4.) To date, Theia’s business has

involved gathering images of Earth from aircraft, including gathering images pursuant to

contracts with government agencies. (Id.)

       In 2016, Theia sought to expand its operations by applying for a license from the FCC to

create a network of satellites to image the entire surface of the Earth. (Id. ¶ 5.) In May 2019, the

FCC granted the application and authorized Theia to build a network of 112 low-Earth orbit

satellites. (Ex. 1.)1 The FCC’s authorization conditions the license upon Theia’s successful

launch of 56 of the satellites by May 2025. (Id. at 3548 (¶ 59(b)).) To date, over two years after

the license grant, Theia has not built or launched any satellites. (Colon Decl. ¶ 7.) And Theia has

no more money to push the effort forward; it is virtually without funds, having failed to meet its

payroll on June 25, 2021, and every week since then. (Id. ¶ 43.)

       FCS, an SEC-registered investment advisory firm, loaned funds to Theia via a series of

promissory notes issued in October 2018. (Id. ¶¶ 1, 8.) Over time, FCS and Theia have amended

their loan relationship, and the operative loan document today is a Secured Note Purchase and

Security Agreement, dated June 29, 2020 (“SNPSA”). (Id. ¶ 9; Ex. 2.)

       Under the SNPSA, FCS lent cash to Theia in exchange for a Series A-1 Secured

Promissory Note in the amount of $100 million, set to mature on December 29, 2020, and a


1
 Citations in the form “Ex. [number]” refer to the exhibits to the accompanying declaration of
Manuel Colon.
                                                  3
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Series A-2 Secured Promissory Note in the amount of $100 million, set to mature on June 29,

2021 (together, the “Notes”). (Ex. 2, SNPSA § 1(a); Ex. 3; Ex. 4.) The parties entered the

SNPSA to enable Theia to build its satellite network and, once it showed progress, attract

replacement outside longer-term financing in order to retire the Notes before maturity. (Colon

Decl. ¶ 10.)

       Theia pledged as collateral substantially all its assets. (Ex. 2, SNPSA § 8(a).) The

collateral includes Theia Group’s ownership of Theia Holdings A, Inc. (the entity possessing the

FCC license) and Theia Aviation LLC (the entity owning Theia’s aircraft). (Id.; Colon Decl.

¶ 15.) The FCC license is by far Theia’s most valuable asset and the only asset with a value

approaching the amounts outstanding under the Notes. (Id. ¶ 16.)

       The SNPSA enables FCS to monetize the FCC license to protect the security interest in

the event Theia failed in its venture. Specifically, after a default and failure to cure, FCS is

“empowered to request the appointment of a receiver from any court of competent jurisdiction,”

and the “receiver shall be instructed to seek from the FCC and every other applicable

Governmental Authority an involuntary transfer of control of any such FCC License Assets for

the purpose of seeking a bona fide purchaser to whom control would ultimately by transferred.”

(Ex. 2, SNPSA § 8(a).)

       Under the SNPSA, Theia had obligations in addition to just repaying the Notes. Theia

agreed to provide FCS with financial reporting to allow FCS to keep a watchful eye on Theia’s

progress. (Colon Decl. ¶ 13.) In particular, Theia agreed to provide to FCS:

           an unaudited consolidated balance sheet for each fiscal quarter within 45 days after

            the end of each fiscal quarter (Ex. 2, SNPSA § 6(e)(i));




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           an unaudited consolidated balance sheet for each fiscal year no later than 90 days

            after the end of each fiscal year (id. § 6(e)(ii));

           an unaudited consolidated balance sheet for each calendar month no later than 15

            days after the end of each calendar month (id.);

           a certificate from a corporate officer certifying, that as of the date of such financial

            statements, the representations and warranties were accurate and complete and that no

            Event of Default has occurred (id. § 6(e)(iii)); and

           a monthly budget identifying, among other things, expected expenses and cash

            expenditures and a comparison to the most recent monthly budget (id. § 6(e)(v)).

       And Theia agreed, as is standard in similar financing agreements (Colon Decl. ¶ 14), not

to incur or assume any debts or liens besides those incurred under the SNPSA without FCS’s

consent. (Ex. 2, SNPSA § 6(a).)

Theia’s History of Broken Promises and The Third Amendment

       In the months before and following the SNPSA, Theia repeatedly led FCS to believe that

Theia would be obtaining significant revenue imminently, so as to retire FCS’s debt. (Colon

Decl. ¶ 18.) Yet in each case the promised transactions never materialized. (Id.)

       For example, in September 2019, Theia told FCS that it expected $2 billion in revenue

from a sovereign nation that would be contracting to use Theia’s technology, and potentially a

separate $2 billion investment from an individual. (Id. ¶ 19) In November 2019, Theia told FCS

that it expected a $2 billion payment from one country within 30 days, and that it had expected to

sign in the first quarter of 2021 a $5 billion commitment from another country. (Id.)

       In March 2020, Theia told FCS that that it had “definitive” commitments for $18.5 billion

in revenue, including from several sovereign nations. (Id. ¶ 20.) Theia also represented that there


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was significant revenue from its aircraft business. (Id.) Theia claimed there was a 95%

probability it would receive billions in expected funds within 120 days. (Id.)

       These representations sent the overall message that Theia was on the cusp of vast revenue

that would easily retire FCS’s debt. FCS entered into the SNPSA based on those

representations—which proved to be false. (Id. ¶ 21.)

       By late 2020, it became clear that Theia would not be able to pay off the Series A-1 Note

by its maturity date. (Id. ¶ 22.) At the time, Theia made yet further promises about imminent

revenue from soon-to-be-executed contracts. (Id. ¶ 23.) Based on those representations, FCS

reluctantly decided to give Theia one more chance to follow through on its promises. (Id.)

       To that end, FCS and Theia executed the Third Amendment to the SNPSA on December

15, 2020 (the “Third Amendment”), and pushed the maturity date of the Series A-1 Note to June

29, 2021, to coincide with the maturity date of the Series A-2 Note. (Ex. 5, Third Amendment

§ 2(a)(i).) But there were strings attached. The Third Amendment provided FCS additional

protections to reinforce Theia’s representations that Theia would achieve a liquidity event within

the six-month repayment timeframe. (Id. ¶ 25.) Specifically, Theia was required to:

          prepare by January 15, 2021, “a comprehensive financial proposal” that would

           “outline in detail” how Theia was to “improve [its] liquidity position” in order to

           enable repayment of the Notes and other payment obligations owing by [Theia] (the

           ‘Liquidity Plan’),” in a “form and substance reasonably acceptable” to FCS (Ex. 5,

           Third Amendment § 3(b));

          engage a “Selected Advisor to advise it in developing the Liquidity Plan” and

           “provide financial advisory and support services to them as required to develop the

           Liquidity Plan” (id. §§ 3(c)(i)-(ii)); and


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            “engage a chief restructuring officer [‘CRO’] . . . whose appointment shall be subject

             to the reasonable consent of [FCS], with full authority to (i) take such actions in the

             name of, and otherwise on behalf of, the [Theia], as are required to comply with the

             other provisions of [the Third] Amendment, and (ii) implement the Liquidity Plan, or

             to otherwise raise capital for [Theia] in order to enable repayment of the Notes and

             the other payments” (id. § 3(f)).

Theia’s Defaults on Its Promises

       Despite these efforts towards a constructive way forward, after FCS granted the extension

of the Note A-1 maturity date, Theia simply thumbed its nose at its commitments, and committed

multiple Events of Default. (Ex. 2, SNPSA § 7.1 (defining Events of Default).)

       Most importantly, Theia did not pay any of the balances due on the Notes on their

maturity date of June 29, 2021. (Colon Decl. ¶ 31.) As of July 22, 2021, the aggregate amount of

outstanding principal, interest, fees, and expenses due and payable under the Notes was

$289,574,162.69. (Id.) Interest and fees have continued to accrue since then, and will continue to

accrue going forward (Id.)

       Theia’s failure to pay was an outgrowth of multiple, other defaults with respect to

provisions designed to place Theia on the path to accountability to its secured lender and

repayment.

       First, Theia failed to prepare a Liquidity Plan—the “comprehensive financial proposal”

that would “outline in detail” how Theia was to repay the Notes—in a “form and substance

reasonably acceptable” to FCS. (Ex. 5, Third Amendment § 3(b).) Theia failed to meet these

obligations by the contractual deadline of January 15, 2021, and still has not met them today.

(Colon Decl. ¶ 33.) Theia prepared only a slide deck with a series of vague goals. It was neither

comprehensive nor detailed, as the Third Amendment requires. (Id.) In March and April 2021,
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FCS warned Theia by letter that its vague slide deck was inadequate (Ex. 7, at 6; Ex. 8, at 1), but

Theia wrote back stubbornly insisting that what it provided was enough. (Ex. 9, at 1.)

                                                                                               (id.

at 2)—an assertion that has obviously proved to be false. Theia made no further efforts to draft a

Liquidity Plan. (Colon Decl. ¶ 33.)

       Second, Theia failed to appoint a CRO by December 23, 2020, and still has not appointed

a CRO. (Id. ¶ 34.)

                                                                                  (Ex. 9, at 1.) Mr.

Buscher could not possibly have served as CRO because that position—as is uniformly

understood in the financial restructuring community—requires impartiality and objectivity.2

       Third, Theia failed to engage a Selected Advisor by January 31, 2021, and still has not

engaged a Selected Advisor. (Colon Decl. ¶ 35.) Theia repeatedly held out the prospect of

Barclays raising funds via a special purpose acquisition company, or “SPAC,” but FCS later

found out that those efforts went nowhere. (Id.)

       Fourth, Theia is months behind on its financial reporting obligations under the SNPSA.

(Id. ¶ 36.) Specifically, Theia has not provided FCS with certified, audited financial records for




2
 The Department of Justice U.S. Trustee Program, which oversees bankruptcies nationwide, will
generally only approve CROs that wear only “one hat” and are not otherwise affiliated with the
debtor. See U.S. Dep’t of Justice, U.S. Trustee Program and Practices Manual § 3-7.1.1,
available at https://www.justice.gov/ust/file/volume_3_chapter_11_case_administration.pdf/
download. And industry experts agree that a CRO should be an outsider because the CRO must
impart the “need for dynamic change and improvement with respect to the management of the
company.” Shai Y. Waisman & John W. Lucas, The Role and Retention of the Chief
Restructuring Officer, AM. RESTRUCTURING & INSOLVENCY GUIDE (2008-09) at 200 (emphasis
added). A CRO focuses on the “company’s financial, organizational, and operational needs
without the emotional ties of management that can often cloud decision-making for a distressed
company.” Role of the Chief Restructuring Officer in Bankruptcy: Overview, Practical Law
Practice Note Overview w-001-1449 (emphasis added).
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the fiscal year 2020; balance sheets for Quarter 4 of 2020, November 2020, or January 2021; or

monthly budgets for 2021. (Id.)

       Fifth, Theia has failed to pay the administrative fee due under the SNPSA every month

beginning with January 1, 2021. (Id. ¶ 37.)

       Finally, and perhaps most disturbing, Theia defaulted under the SNPSA by furtively

entering into a Secured Note Purchase Agreement with Aithre Capital Partners LLC (“Aithre”).

(Id. ¶ 38.) As noted, the SNPSA unambiguously requires Brevet’s prior written consent before it

can obtain such financing. (Ex. 2, SNPSA § 6(a).) Yet Theia secretly negotiated with Aithre to

obtain this additional loan, intentionally violating a clear loan covenant. (Colon Decl. ¶ 38.)

       FCS made every effort to resolve Theia’s defaults without recourse to litigation. In

addition to numerous emails and informal discussions, FCS sent Theia multiple letters, urging

Theia to take steps to address its defaults (Ex. 6; Ex. 7; Ex. 8), including a proposed forbearance

agreement that offered Theia a chance to correct its defaults and proceed toward eventual

repayment. (Id.) Theia ignored the proposal. (Colon Decl. ¶ 39.)

       FCS provided Theia with notices of the defaults (Ex. 10; Ex. 11), and, since then, Theia

has not disputed that it is in default, nor cured any of the defaults. (Colon Decl. ¶ 42.)3

Accordingly, the “Repayment Amount” (defined as all principal, interest, fees or other unpaid

amounts) is immediately due, and FCS is “entitled to enforce its right to payment and to exercise

all right and remedies” under the loan documents. (Ex. 2, SNPSA § 7.2.)




3
 The SNPSA initially provided a cure period of 30 days following a Notice declaring an Event
of Default. (Ex. 2, SNPSA § 7.2.) The Third Amendment shortened the cure period to 10 days,
which would be reduced by any period in which Theia had actual notice of the default. (Ex. 5,
Third Amendment § 2(c).) Theia obviously knew about its own non-payment (among other
defaults) as soon as they happened.


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Theia’s Highly Suspicious Incorporation of New Corporate Entities

        Adding to FCS’s concern is certain recent highly suspicious corporate activity by Theia.,

involving newly-created corporate entities.

        These events trace back to a trademark lawsuit that a software company, also known as

“Theia,” filed against Theia (the entity in this case) in January 2020 in the Eastern District of

Pennsylvania. (Ex. A.)4 In June 2021, Theia filed a Pretrial Memorandum stating that it had

“chosen to voluntarily cease all use of the THEIA mark and will never again use it.” (Ex. B.)

        Consistent with that filing, Theia recently told FCS that, to settle the trademark litigation,

Theia would be doing business under the names “Thorian” and “Cypherian” going forward.

(Colon Decl. ¶ 46.) But publicly-available Delaware corporate records do not show that any of

the Theia entities filed for a name change. (Ex. B.) Instead, the public records show new entities

with the “Thorian” and “Cypherian” names: Thorian Group, Incorporated, Thorian Holdings

Group A Incorporated, and Cypherian LLC. (Ex. C, D, E.) The documents associated with the

Cypherian entity are signed by Theia’s CFO, Stephen Buscher (id.), and the formation

documents of the Thorian entities reflect the same corporate services provider (Harvard Business

Services, Inc.) as the Theia entities. (Compare Ex. B with Exs. C and D). What appears to be

going on is alarming, to say the least: Theia’s management has apparently formed new entities

from which to conduct the Theia business. One can only wonder about the purpose for these new

entities, other than for Theia to attempt to evade its debts to its creditors.

Time Is of the Essence

        FCS cannot wait years or even months to start the process of monetizing the FCC license,

because there is much to do between now and the FCC’s deadline of May 2025.


4
 Citations in the form “Ex. [letter]” refer to the exhibits to the accompanying declaration of
Charles Michael.
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        First, FCS will need to spend several months marketing the FCC license to get the best

price possible. (Colon Decl. ¶ 51.)

        Second, once a deal is in place with an agreed price, the FCC’s own guidance published

on its website states that it can take six months or longer to approve a significant transaction.

(Ex. 12, at 2.)

        Third, the approved buyer will need time to build and launch half of the network (56 of

the 112 satellites) by May 2025, so as to meet the FCC’s condition. This is a substantial

undertaking, which is why the FCC originally allowed Theia six years to complete it.




                                                                         there is little time to spare

in getting the license in the hands of a buyer that, unlike Theia, can advance the project forward

to meet the deadline. (Id.)

        FCS has tried to address this urgent situation without litigation, but further discussions

with Theia have gone nowhere. (Id. ¶ 44.)

FCS’s Complaint

        As detailed above, FCS finds itself with a borrower that owes FCS over $289 million, has

violated numerous contractual commitments, has little capacity even to continue operations, and

has imperiled FCS’s primary collateral—the FCC license.

        Thus, on August 19, 2021, FCS filed its complaint in this case, seeking a judgment

against Theia to recover in full on the debts under the SNPNA, which today stand at over $289

million, and which continue to accrue interest, fees, and expenses. Given that Theia has

indisputably not paid the amounts due on the Notes (among other defaults), it is difficult to

imagine what, if any, defense Theia will offer on the merits.
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                                            ARGUMENT

I.      THE COURT SHOULD APPOINT A TEMPORARY RECEIVER

        As detailed below, there is ample reason (indeed, urgent need) for a receiver to be

appointed in this case, including (i) the parties’ express agreement providing for “appointment of

a receiver from any court of competent jurisdiction” (Ex. 2, SNPSA § 8(n)); (ii) the multiple,

undisputed defaults by Theia, which will ultimately result in a final judgment against Theia; (iii)

the imminent risk to FCS’s collateral, particularly in light of Theia’s now proven inability to

monetize its most important asset, the FCC license; and (iv) the balance of equities, which

clearly favors FCS.

        A.      Standard for Appointing a Receiver

        Under Second Circuit law, the existence of a receivership provision in a contract—as is

the case here—“strongly supports the appointment of a receiver.” Citibank, N.A. v. Nyland (CF8)

Ltd., 839 F.2d 93, 97 (2d Cir. 1988). Moreover, where a contract authorizes a receiver, “the party

opposing the appointment bears the burden of demonstrating why a receiver should not be

appointed.” Zwirn Special Opportunities Fund, L.P. v. Tama Broadcasting, Inc., 550 F. Supp. 2d

481, 491 (S.D.N.Y. 2008).

        Even where there is no explicit receivership provision, it is within the Court’s discretion

to appoint receivers “in order to protect property.” United States v. Ianniello, 824 F.2d 203, 207

(2d Cir. 1987) (citation omitted). In exercising that discretion, courts consider various factors,

including several that are present in this case: “the imminent danger of the property being lost,

concealed, injured, diminished in value, or squandered”; “plaintiff’s probability of success in the

action”; “the possibility of irreparable injury to [the plaintiff’s] interests in the property”; and

“the probability that harm to plaintiff by denial of the appointment would be greater than the



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injury to the parties opposing appointment.” U.S. Bank Nat’l Ass’n v. Nesbitt Bellevue Property

LLC, 866 F. Supp. 2d 247, 249-50 (S.D.N.Y. 2012).

       Under these standards, secured lending is among the “well established contexts” where a

receiver is considered appropriate. 2 Charles Alan Wright, et all., Federal Practice & Procedure

§ 2983 (3d ed. 2014); see also Miss Jones LLC v. Stiles, 17 Civ. 1450, 2019 WL 3034906, at *4

(S.D.N.Y. July 10, 2019) (concluding that “appointment of a receiver is appropriate [where] it is

clearly necessary to protect Plaintiff’s interests in the property”).

       B.      Theia Expressly Agreed That a Receiver
               Would Be Appropriate In These Circumstances

       The SPNSA explicitly authorizes appointment of a receiver in the event that Theia

defaults on its obligations, and Theia has clearly defaulted. Under the SNPSA, FCS is

“empowered to request the appointment of a receiver from any court of competent jurisdiction,”

and that receiver “shall be instructed to seek from the FCC and every other applicable

Governmental Authority an involuntary transfer of control of” the FCC License Assets. (Ex. 2,

SNPSA § 8(n).) As discussed, such a provision “strongly supports the appointment of a

receiver,” Citibank, N.A., 839 F.2d at 97, and shifts the burden to the defendant to show why a

receiver should not be appointed. D.B. Zwirn, 550 F. Supp. 2d at 491.

       Theia cannot meet its burden because of its myriad defaults and conspicuous lack of

explanation for any of them. Particularly given the additional factors detailed below, Theia

cannot show a basis to “depart[] from the terms of the agreement providing for the appointment

of a receiver.” Fed. Home Loan Mortg. Corp. v. Green, No. 89 CIV. 7717, 1990 WL 58900, at

*1 (S.D.N.Y. April 27, 1990).




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        C.      Theia’s Multiple Defaults Justify Appointment of a Receiver

        Where it is “undisputed that several events of default ha[ve] occurred,” the case for a

receiver becomes even stronger. D.B. Zwirn, 550 F. Supp. 2d at 491; see also U.S. Bank Nat’l

Ass’n, 866 F. Supp. 2d at 250 (receiver appropriate where there is “no dispute that the defendants

have defaulted on the loans at issue”). Theia’s defaults are plain and numerous: the company has

not paid the balance on the Notes, it incurred unauthorized debt and liens, and it refused to take

any of the required, basic steps under the SNPSA and Third Amendment to show that it was

keeping its house in order. Making matters worse, the company has apparently burned through

all the funds loaned to it, so that it has failed to meet its payroll obligations. (Colon Decl. ¶ 43.)

        These defaults evidence the urgent need for a receiver because they reveal a company in

disarray that is endangering the very existence of the lender’s collateral. Where a defendant “has

defaulted, and continues to be in default, on a large obligation,” a receiver is necessary to fix the

“fail[ure] to demonstrate any concrete plan for recovering its debts.” United States v. Trusty

Capital, Inc., No. 06-CV-8170, 2007 WL 44015, at *8 (S.D.N.Y. Jan. 5, 2007). Here, Theia’s

willful, repeated, and brazen defaults demonstrate an unethical and unreliable pattern of

behavior.

        Consider as just one example Theia’s covert loan arrangement with Aithre. The SNPSA

could not be clearer in prohibiting indebtedness or liens without FCS consent—a standard

provision in secured lending. (Ex. 2, SNPSA §6(a).) Theia was plainly well aware of this

restriction, but went ahead and chose to secretly take on additional debt, anyway. Combined with

the refusal to provide basic financial documents and the gall of trying to pass off a company

insider as CRO, it is evident that Theia’s management cannot be trusted and a receiver is needed

urgently. Theia’s recent mischief involving the newly created “Thorian” and “Cypherian”

entities only raises the level of alarm higher.
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       D.      Theia’s Actions Imminently Threaten the Value of FCS’s Collateral

       Theia has proved itself untrustworthy to complete the work necessary to meet the FCC’s

condition of launching 56 satellites by May 2025. FCS is thus at risk of incurring significant,

irreversible losses until a receiver is appointed to manage Theia’s affairs, and ensure the

license’s value is preserved.

       Theia’s actions make plain its inability to monetize its assets. At the risk of belaboring

the point, Theia has failed to pay the balance on the Notes, incurred debt in defiance of a clear

anti-indebtedness contractual provision, refused to engage a CRO or Selected Advisor, refused to

develop a Liquidity Plan to straighten out its finances, and refused to provide FCS with basic

financial reporting documents. Theia’s failures to comply with the comparatively straightforward

requirements in the SNPSA and Third Amendment prove it has no business with a responsibility

the magnitude of managing the FCC license. Cf. Citibank, N.A., 839 F.2d at 97 (receiver

appropriate where defendant’s “continuing role in managing the [property] would be harmful to

the premises’ marketability”).

       The license belongs instead in the hands of a company that can seize on the opportunities

that Theia has squandered—and it is urgent that the transfer process occur as soon as possible.

As detailed above, the time it will take to market the license and gain approval for its transfer is

lengthy, and needs to occur soon enough for a new licensee to build the satellite network by the

FCC’s deadline. The FCC had allotted six years to build the network, but, thanks to Theia, over

two of those years are lost. There is no more time to waste.

       Courts have concluded that a receiver should be appointed in similar circumstances,

where a license was at risk.

       In D.B. Zwirn, the owner of several radio stations defaulted on its debts, and could not

afford to maintain those stations up to the standards required to maintain their FCC licenses. 550
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F. Supp. 2d at 492. Judge Scheindlin found that “[i]rrespective of which party bears the bulk of

the blame” for the radio stations’ troubles, a receiver should be appointed because there was an

“an imminent danger of the property being diminished in value.” Id.5

        As a further example, in U.S. Bank, the defaulting borrower operated eight hotels via

franchise agreements, and, absent funds to make improvements, risked losing licenses to the

“Embassy Suits” franchise name. 866 F. Supp. 2d at 253. Judge Koeltl appointed a receiver

because, if the licenses were lost, “the substantial diminution of the Hotels’ value” would be

“inexorable.” Id. at 253-54.

        E.      A Balancing of the Equities Favors Appointing a Receiver

        Finally, FCS’s harms in the absence of a temporary receiver outweigh those harms that

appointment may cause Theia. FCS is at risk of the FCC license becoming completely worthless

if Theia’s gross mismanagement is allowed to continue. Theia’s suggestion that its own CFO

could serve as CRO, for example, shows that the company’s management is not serious about

taking an honest look at its financial situation. Appointment of a temporary receiver will not

cause any harm to Theia that it has not already inflicted upon itself. Transferring the FCC license

may seem a significant loss, but Theia only has itself to blame for squandering the opportunity to

capitalize on the license in the first place.

        Further, the appointment of a temporary receiver will protect any interests Theia may still

have. A temporary receiver is “an officer of the court and has the duty to preserve and protect the

property pending the outcome of the litigation.” Citibank, N.A., 839 F.2d at 98. The receiver will

not be an employee or agent of FCS but will rather operate “without deference to either party and


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  Judge Scheindlin ultimately concluded that the court lacked subject matter jurisdiction over the
case, 550 F. Supp. 2d at 488-49, but on remand the state court agreed, for essentially the same
reasons as Judge Scheindlin, to appoint a receiver. See D.B. Zwirn Special Opportunities Fund v.
Tama Broad., Inc., No. 0600692/2008, 2008 WL 2958270 (N.Y. Sup. Ct. July 21, 2008).
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with preservation of the property as its sole objective.” D.B. Zwirn, 550 F. Supp. 2d at 492. Theia

can hardly claim harm or prejudice by the appointment of an impartial officer, duty-bound to

preserving and protecting the property interests at stake.

                                                ***

       In sum, considering “all of the relevant factors including the contractual language agreed

to between the parties regarding receivership and the imminent danger of [the] property

continuing to diminish in value,” id. at 493, the Court should appoint a temporary receiver.

II.    THE COURT SHOULD ORDER EXPEDITED DISCOVERY

       In addition to the appointment of a temporary receiver, FCS requests the Court authorize

FCS to immediately issue targeted discovery requests relating to (i) where Theia’s funds have

gone; (ii) any improper related-party transactions; (iii) the contracts it has signed with revenue

sources (investors, customers, etc.) and (iii) the nature and purpose of the newly-formed entities.

FCS asks the Court to require responses within 10 days of service. (Ex. G (proposed discovery).)

       Courts in this district apply a “‘flexible standard of reasonableness and good cause’ in

determining whether to grant a party’s expedited discovery request.” Digital Sin, Inc. v. Does 1-

176, 279 F.R.D. 239, 241 (S.D.N.Y. 2012) (citation omitted). Among the factors courts consider

are (1) whether a “legally cognizable urgency exists,” (2) “the purpose for requesting the

expedited discovery”; (3) “the breadth of the discovery requests”; and (4) “the burden on the

defendants to comply with the requests.” 6 James Wm. Moore, Moore’s Federal Practice

§ 26.121[2]. All of these factors favor expedited discovery here.

       As detailed above, there is a “legally cognizable urgency” because FCS’s collateral is

being impaired by Theia’s defaults. The information is sought for the legitimate purposes of

identifying evidence that is highly relevant to the relief sought in the case, and that is needed

promptly so that FCS (and potentially the receiver) can ensure that FCS’s rights are protected.
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        Courts have allowed expedited discovery in similar circumstances. For example, in

CFTC v. Atwood & James, Ltd., No. 09 CV 6032, 2009 WL 666970 (W.D.N.Y. Jan. 23, 2009),

the court authorized the appointment of a temporary receiver, and at the same time allowed

expedited discovery as to the “nature, location, status and extent of Defendants’ alleged

wrongdoing (including but not limited to the possible involvement of others).” Id. at *5. And in

JP Morgan Chase Bank, N.A. v. Reijtenbagh, 615 F. Supp. 2d 278 (S.D.N.Y. 2009), a bank sued

to enforce a $50 million promissory note that was secured by certain art, and Judge Marrero

authorized the bank to conduct expedited discovery so that it could “determine the location of

any missing Art Collateral.” Id. at 282-83; see also Computerland Corp. v. Batac, Inc., No. 88

CIV. 862, 1988 WL 140816, at *5 (S.D.N.Y. Dec. 16, 1988) (where franchisor sought to recover

defaulted secured loan debt from franchisee, authorizing discovery “related to the location and

status of the collateral”).

        As for the remaining factors, the discovery is narrowly tailored and minimally

burdensome. Theia should have little trouble assembling its bank statements, its material

contracts, corporate records explaining any related-party transaction, as well as records bearing

on its affiliation and the purpose of the highly suspicious “Thorian” and “Cypherian” entities.

                                         CONCLUSION

        For the stated reasons, the Court should grant FCS’s application for appointment of a

temporary receiver, and should authorize FCS to immediately serve the expedited discovery

requests accompanying this motion.




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